     :                                                   The Honorable Mary Jo Heston
 1
                                                         Chapter 7
 2                                                       Hearing Location: Tacoma
                                                         Hearing Date: September 17, 2018
 3                                                       Hearing Time: 9:00 a.m.
 4
 5                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF WASHINGTON
 6
 7   In re:                                              Case No. 17-41711-MJH
 8
     Heather Ann Stewart,                                Chapter 7
 9
              Debtor.                                    CONDITIONAL NON-OPPOSITION TO
10
                                                         MOTION TO SELL
11
              COMES NOW THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW
12
     YORK, INDENTURE TRUSTEE ON BEHALF OF THE NOTEHOLDERS OF THE CWHEQ
13
     INC., CWHEQ REVOLVING HOME EQUITY LOAN TRUST, SERIES 2007-C through its
14
     servicing agent Bank of America, N.A. (“Creditor”), and files this Conditional Non-Opposition
15
     to Motion to Sell involving the property located at 8305 Cirque Drive W. Unit 5, University
16
     Place, WA 98467 (the “Property”).
17
              Creditor has no fundamental opposition to the Trustee's Motion to Sell.            However,
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     Creditor request that it stipulate to the form of an order requiring that either the amounts secured
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     by the lien of Creditor are paid in full, or, paid in such amount as Creditor agrees to in writing
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     and pursuant to the terms and conditions of an approved short sale
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              Creditor’s conditional response is submitted pursuant to 11 U.S.C. § 363(f), prohibiting
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     sale for less than the total amount owed a secured creditor absent consent or other applicable
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     condition of law or fact.
24
              Therefore, Creditor respectfully requests that the Court grant the Motion to Sell, subject
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     CONDITIONAL NON-OPPOSITION TO MOTION TO SELL                              McCarthy & Holthus, LLP
     MH# WA-18-148819                                                          108 1st Avenue South, Ste. 300
                                                                               Seattle, WA 98104
                                                                               (206) 596-4856
         Case 17-41711-MJH        Doc 41     Filed 09/11/18     Ent. 09/11/18 10:18:45        Pg. 1 of 3
 1   o inclusion of the express conditions listed above; or, in the alternative, The Court deny the
 2   Motion to Sell in its entirety.
 3
     Dated: September 7, 2018                         McCarthy & Holthus, LLP
 4
 5                                                    /s/ Lance E. Olsen
                                                      Lance E. Olsen, Esq. WSBA 25130
 6                                                    Michael S. Scott, Esq. WSBA 28501
                                                      Kathy Shakibi, Esq. WSBA 49381
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                                                      Attorneys for Creditor
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     CONDITIONAL NON-OPPOSITION TO MOTION TO SELL                        McCarthy & Holthus, LLP
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 1                                           CERTIFICATE OF SERVICE

 2
              On 9/11/2018, I served the foregoing CONDITIONAL NON-OPPOSITION TO MOTION TO SELL on
 3   the following individuals by electronic means through the Court’s ECF program

 4       TRUSTEE                                  DEBTOR’S COUNSEL
         Kathryn A Ellis                          Dorothy A. Bartholomew
 5       kae@seanet.com                           assistant@findbankruptcy.com

 6            I declare under penalty of perjury under the laws of the United States of America that the foregoing
     is true and correct.
 7
                                                                               /s/ Amy Shaw
 8                                                                             Amy Shaw
 9
              On 9/11/2018, I served the foregoing CONDITIONAL NON-OPPOSITION TO MOTION TO SELL on
10   the following individuals by depositing true copies thereof in the United States mail at San Diego, California,
     enclosed in a sealed envelope, with postage paid, addressed as follows:
11
     DEBTOR
12   Heather Ann Stewart, 8305 Cirque Drive W. Unit 5, University Place, WA 98467

13   US TRUSTEE
     700 Stewart St Ste 5103, Seattle, WA 98101
14
15            I declare under penalty of perjury under the laws of the United States of America that the foregoing
     is true and correct.
16
                                                                               /s/ Hue Banh
17                                                                             Hue Banh

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     CONDITIONAL NON-OPPOSITION TO MOTION TO SELL                                       McCarthy & Holthus, LLP
     MH# WA-18-148819                                                                   108 1st Avenue South, Ste. 300
                                                                                        Seattle, WA 98104
                                                                                        (206) 596-4856
       Case 17-41711-MJH             Doc 41       Filed 09/11/18       Ent. 09/11/18 10:18:45           Pg. 3 of 3
